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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )    Case No. 2:11-cr-0119 WBS
                                            )
12                     Plaintiff,           )    STIPULATION AND ORDER RESETTING
                                            )      BRIEFING AND EXCLUDING TIME
13        v.                                )
                                            )
14   REBECCA GUZMAN, et al.,                )
                                            )
15                     Defendants.          )
                                        )
16
          Plaintiff, United States of America, by its counsel, Assistant
17
     United States Attorneys Jason Hitt and William S. Wong, and defendant
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     Rebecca GUZMAN, by and through his counsel, Kirk McAllister, Esq.,
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     stipulate and agree that the briefing schedule for defendant’s motion
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 1   for a bill of particulars should be reset according to the following
 2   schedule:
 3               Government’s Opp.:         December 5, 2011
 4               Defendant’s Reply:         December 12, 2011
 5               Hearing on Motion:         December 16, 2011, at 2:00 p.m.
 6
 7                                               Respectfully Submitted,
 8                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 9
10   DATED:   November 30, 2011               By:/s/Jason Hitt
                                                 JASON HITT
11                                               WILLIAM S. WONG
                                                 Assistant U.S. Attorneys
12
13   DATED:   November 30, 2011               By:/s/Jason Hitt
                                                 Authorized to sign for Mr.
14                                               McAllister on 11-29-11
                                                 KIRK McALLISTER, Esq.
15                                               Attorney for Rebecca GUZMAN
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 1                                      ORDER
 2        Based upon the representations and stipulation of counsel, IT IS
 3   HEREBY ORDERED that:
 4        1.   Based upon the representation and stipulation of counsel,
 5   the Court adopts the revised briefing schedule on defendant’s motion
 6   to suppress and hearing date as follows:
 7             Government’s Opp.:           December 5, 2011
 8             Defendant’s Reply:           December 12, 2011
 9             Hearing on Motion:           December 16, 2011, at 2:00 p.m.
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11        IT IS SO ORDERED.
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13   DATED: November 30, 2011
14                                     /s/ Gregory G. Hollows
                                      UNITED STATES MAGISTRATE JUDGE
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